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AO 93 (Rey. 11/13) Search and Seizure Warrant (USAO CDCA Rev. 04/17)

 

 

UNITED STATES DISTRICT COURT

for the
Central District of California

 

In the Matter of the Search of
(Briefly describe the property to be searched or identify the

person by name and address)
One United States Postal Service Priority Mail
Express parcel bearing label number
EM081777870US, postmarked on August 12, 2019
in Bronx, New York, and addressed to the home of
L.B. in Los Angeles, California

Case No. 19-MJ-03330

Nm Nee ee ee Ne Ne ee

SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Central District of California (identify the person or describe the property to be searched
and give its location):

See Attachment A

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

See Attachment B
Such affidavit(s) or testimony are incorporated herein by reference and attached hereto.

YOU ARE COMMANDED to execute this warrant on or before 14 days from the date of its issuance (sot to exceed 14 days)

 

X] in the daytime 6:00 a.m. to 10:00 p.m. [J at any time in the day or night because good cause has been established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to the U.S. Magistrate Judge on duty at the time of the return
through a filing with the Clerk's Office.

L] Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)

 

[] for____ days (not to exceed 30) (_] until, the facts justifying, the later specific dade wt

 

. HAL) LOl = 17 54 SMe 5 |
Date and time issued: | | =) pan ody Lb “wo
Judge's signatur @
(

City and state: Los Angeles, CA Hon, John E. McDermott, U.S. Magistrate Judge

Printed name and tifle

AUSA: Scott D. Dubois x0882

 
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AO 93 (Rev. 11/13) Search and Seizure Warrant (Page 2)
Return
Case No.: 19-MJ-03330 Date and time warrant executed: Copy of warrant and inventory left with:

 

 

$ S14 AG |! 22tEM ALPE

Inventory made in the presence of :

TN CPR. AM EREL.

 

 

Inventory of the property taken and name of any person(s) seized:

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Certification

 

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

Uw,
pate: 8/2 3/149 wm

7 Executing officer’s signature

POSTFTL|NGPECTOR PORK THOMUFRON)

Printed name and title

 

 

 
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ATTACHMENT A

PARCEL TO BE SEARCHED
The SUBJECT PARCEL

A United States Postal Service Priority Mail Express parcel
bearing label number EM081777870US, which is a brown cardboard
box, weighing approximately 14 pounds 11 ounces, postmarked on
August 12, 2019 in Bronx, New York, and which bears a
handwritten address label with the following recipient
information: “Lucien Burton 346 Hauser Blvd. Apt 405 Los Angeles
California 90036” and “323 8394838;” and with the following
sender information: “Pauline Murray 936 E 221 St Bronx NY 10469”

and phone number “646 981 4391.”

 
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ATTACHMENT B

ITEMS TO BE SEIZED

 

The following items are to be seized from the parcel
described in Attachment A, which constitute evidence, fruits,
and instrumentalities of violations of 21, United States Code,
Sections 841(a) (1) (Distribution of and Possession with Intent.
to Distribute a Controlled’ Substance); 846 (Conspiracy to
Distribute and to Possess with Intent to Distribute a Controlled
Substance); and 843(b) (Unlawful Use of a Communication
Facility, Including the Mails, to Facilitate the Distribution of
a Controlled Substance):

a. Any controlled substances;
b. Currency, money orders, bank checks, or similar
monetary instruments in quantities over $1,000.00; and

c. Packaging material.

aids

 
